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              IN THE UNITED STATES BANKRUPTCY COURT
                   WESTERN DISTRICT OF MISSOURI
In re: ERNESTINE NMN GRAYSON

                                                                 Case No.: 19-40684-can-13

                              Debtor


                           TRUSTEE'S OBJECTION TO EXEMPTIONS

    COMES NOW Richard V. Fink, Chapter 13 Trustee, and files this objection to the debtor's
exemptions. The debtor filed a Schedule C about March 26, 2019. The Chapter 13 Trustee objects to
the claimed exemptions for the following reasons:

   1. The debtor claims an exemption on her residence under RSMo 513.475. The debtor lists the
      amount of the exemption as 100% of fair market value, up to any applicable statutory limit.
      Based on the trustee’s analysis, the equity in the asset exceeds the statutory limit. The trustee
      requests that the exemption be allowed at the statutory limit of $15,000.00.

   WHEREFORE, the Chapter 13 Trustee requests that the Court grant the Objection to Exemptions.


                                                     Respectfully submitted,
       April 09, 2019
                                                     /s/ Richard V. Fink, Trustee

                                                     Richard V. Fink, Trustee
                                                     2345 Grand Blvd., Ste. 1200
                                                     Kansas City, MO 64108-2663
                                                     (816) 842-1031
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                                                  NOTICE OF OBJECTION

Any response to the objection must be filed within twenty -one (21) days of the date of this notice (subject to an
extension pursuant to Federal Rule of Bankruptcy Procedure 9006 ) with the Clerk of the United States Bankruptcy
Court. Documents can be filed electronically at http://ecf .mowb.uscourts.gov. A copy of such response shall be served
electronically by the Court on the Chapter 13 Trustee and all other parties to the case who have registered for electronic filing .
Parties not represented by an attorney may mail a response to the Court at the address below . If a response is timely filed, the
Court will either rule the matter based on the pleadings, or set the matter for a hearing . If a hearing is to be held, notice of
such hearing will be sent to all parties in interest . If no response is filed within twenty-one (21) days (subject to an
extension pursuant to Federal Rule of Bankruptcy Procedure 9006 ), the Court may enter an Order granting the
objection to exemptions. For information about electronic filing, go to http://www .mow.uscourts.gov. If you have any
questions about this document, contact your attorney .


                                                    NOTICE OF SERVICE

The following parties will be served either electronically or by United States First Class Mail and a certificate of service will
be filed thereafter:

DEBTOR(S)
ANGELA HABEEBULLAH (506325) - ATTORNEY FOR DEBTOR(S)

                                                                 /s/ Richard V. Fink, Trustee


                                                                                                       RG      /Objection - Exemptions
